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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

NATIONAL COUNCIL OF
NONPROFITS, et al.,

Plaintiffs,
                                            Case No. 25-cv-239
v.

OFFICE OF MANAGEMENT AND
BUDGET, et al.,

Defendants.



                          JOINT STATUS REPORT

       Pursuant to this Court’s Minute Order of March 3, 2025, the parties

have met and conferred regarding next steps in this proceeding. This joint

status report first addresses a motion Plaintiffs intend to file seeking to clarify

the Court’s preliminary injunction; it then addresses the parties’ respective

positions on other next steps.

       First, Plaintiffs intend to file a motion to clarify the preliminary

injunction later today, specifically with respect to the scope of the phrase “all

open awards.” The parties have conferred and agreed to the following proposed

briefing schedule: Plaintiffs should file the motion by March 4; Defendants

should oppose by March 11; and Plaintiffs should reply by March 13.

       The parties disagree as to other next steps.
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        Plaintiffs’ Position

        Plaintiffs’ position is that the case should proceed in the ordinary course.

Defendants should file their answer to the complaint by March 11, 2025, as

required by the rules of civil procedure. See Fed. R. Civ. P. 12(a)(4)(A); Minute

Order of Feb. 6, 2025. Defendants suggest that to follow those default rules

would require “expedited” proceedings, but Defendants have already received

sufficient additional time to prepare their answer as a result of the Court’s

February 6 minute order staying the answer deadline pending a decision on

the preliminary injunction.

        Defendants should also proceed to produce the administrative record to

Plaintiffs and file with the Court a certified list of the contents of the record.

Because Defendants have already filed and the Court resolved a dispositive

motion, see LCvR 7(n)(1), and because the administrative record in this

proceeding does not appear likely to be especially voluminous, Plaintiffs’

position is that it would be appropriate for the Court to set a deadline requiring

Defendants to produce the administrative record and file the index by March

25.

        Setting aside whether producing the administrative record or filing an

answer in the ordinary course can properly be characterized as “imminent[]”

“merits proceedings,” Plaintiffs respectfully suggest that both are relevant to

the Court’s and the parties’ determination of the appropriate next steps in this




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case and that no good cause exists for delaying Defendants’ compliance with

these ordinary obligations.

      Plaintiffs’ position with respect to other next steps is that the parties

should continue to confer and, following Defendants’ production of and

Plaintiffs’ review of the administrative record, propose further next steps to

govern this proceeding.

       Defendants’ Position

      Aside from the briefing schedule set forth above regarding Plaintiffs’

forthcoming motion for clarification, Defendants respectfully request that

further deadlines in this matter be postponed for a period of 60 days following

entry of the Court’s preliminary injunction. That short period is warranted to

provide time for the Acting Solicitor General to decide whether to appeal this

Court’s preliminary injunction, which will be an important factor in

Defendants’ position on whether further merits proceedings are appropriate or

should be stayed pending resolution of any appeal that is authorized. At a

minimum, Defendants request that their deadline for responding to Plaintiffs’

Complaint be set at April 1, 2025, which is the deadline that would apply in

the ordinary course based on Plaintiffs’ service of the summons and complaint.

See ECF No. 32 (reflecting service date of Jan. 31, 2025).

      Request for 60-Day Postponement

      Pursuant to statute and the Federal Rules of Appellate Procedure, the

United States is provided 60 days to file a notice of appeal. See 28 U.S.C.




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§ 2107(b) (allowing the United States 60 days to appeal from an adverse order);

Fed. R. App. 4(a)(1)(B)(iii). Authorization for the United States to appeal must

be determined by the Solicitor General. See 28 C.F.R. § 0.20(b). The policy of

providing the United States 60 days to file a notice of appeal is longstanding

and, according to the Advisory Committee, “well justified” and should not be

“rushed.” In re O’Bryan, 399 F.2d 916, 918 & n.1 (10th Cir. 1968).

      Here, the Acting Solicitor General is still evaluating whether to appeal

this Court’s preliminary injunction. Whether the Department elects to file an

appeal will be an important factor in Defendants’ views on whether further

merits proceedings are appropriate, or whether those proceedings should be

stayed pending resolution of any appeal that is filed, as is common in this

District. See, e.g., Univ. of Colorado Health at Mem’l Hosp. v. Burwell, 233 F.

Supp. 3d 69, 88 (D.D.C. 2017) (“Because many of the applicable issues may be

resolved by the D.C. Circuit, and because the D.C. Circuit may otherwise

provide instruction on the issues here, the Court finds a stay would serve the

interests of judicial efficiency.”); Allina Health Servs. v. Sebelius, 756 F. Supp.

2d 61, 71 (D.D.C. 2010). Defendants are not requesting a full stay at this time,

but rather a postponement of any deadlines for a period of 60 days after entry

of the Court’s preliminary injunction—until April 28, 2025—to allow the

Acting Solicitor General to decide in an orderly manner whether to appeal this

Court’s preliminary injunction.




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      Plaintiffs have not articulated any need for further merits proceedings

to occur imminently. To the contrary, Plaintiffs will continue to have the

benefit of this Court’s preliminary injunction during this 60-day period while

the Department evaluates whether to appeal.

      Accordingly, aside from the briefing schedule on Plaintiffs’ forthcoming

motion to clarify the preliminary injunction, this Court should not establish

any other deadlines prior to April 28, 2025. The Court should instead direct

the parties to file a joint status report regarding further proceedings on May 5,

2025 (seven days after Defendants’ deadline for appeal), or within seven days

of the filing of any notice of appeal, whichever is sooner.

      Alternatively, Defendants’ Response to the Complaint Due April 1

      To the extent the Court is not inclined to stay merits proceedings for 60

days, Defendants respectfully request, in the alternative, that their next

deadline be filing a response to the Complaint on April 1, 2025. That is the

date that Defendants’ response to the Complaint would be due in the ordinary

course, if not for the expedited proceedings that have already occurred. See

ECF No. 32; Fed. R. Civ. P. 12(a)(2). Although Defendants previously filed a

motion to dismiss that was denied, cf. Fed. R. Civ. P. 12(a)(4)(A), there is no

reason further proceedings in this case must continue in an expedited manner,

with Defendants’ response to the Complaint being due prior to the 60 days that

they would normally be afforded.




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      Indeed, Defendants have agreed to another round of expedited briefing

in connection with Plaintiffs’ forthcoming motion for clarification—with

Defendants’ response due on March 11, 2025—and there is no apparent reason

why Defendants should simultaneously be required to respond to the

Complaint on that same date. Additionally, Defendants will likely require

more than two weeks beyond the March 11 date to confer regarding the

contents of any Administrative Record.

      Accordingly, Defendants respectfully request, in the alternative, that

their deadline for responding to the Complaint be set as April 1, 2025, with

further deadlines regarding any Administrative Record governed by the

default timing provisions of Local Civil Rule 7(n)(1).




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Dated: March 4, 2025           Respectfully submitted,

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